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                                          Exhibit A

Case Name                                                      Case Number     Date Filed
Amityville (NY), Village of v. McKesson Corporation, et al. 1:19-op-45955      10/30/2019
Babylon (NY), Incorporated Village of v. McKesson Corp., et
al.                                                         1:19-op-46062      11/21/2019
Babylon (NY), Town of v. McKesson Corp., et al.                1:19-op-46047   11/21/2019
Bellmore (NY), Fire District of v McKesson Corp., et al.       1:19-op-46034   11/20/2019
Bellport (NY), Village of v. McKesson Corp., et al.            1:19-op-46019   11/15/2019
Board of Education of Thornton Township High Schools
(IL), et al. v. Cephalon, Inc., et al.1                        1:20-op-45281   12/16/2020
Brookhaven (NY), Town of v. McKesson Corporation, et al.       1:19-op-46018   11/15/2019
Centereach (NY), Fire District v. McKesson Corporation, et
al.                                                            1:19-op-46100    12/3/2019
Centerport (NY), Fire District of v. McKesson Corp., et al.    1:19-op-46107    12/4/2019
Clarkstown (NY), Town of v. McKesson Corp., et al.             1:19-op-46088   11/22/2019
East Hampton (NY), Village of v. McKesson Corp., et al.    1:19-op-46040       11/20/2019
East Rockaway (NY), Village of v. McKesson Corporation, et
al.                                                        1:19-op-45999       11/11/2019
Farmingdale (NY), Village of v. McKesson Corp., et al.         1:19-op-46037   11/20/2019
Floral Park (NY), Village of v. McKesson Corporation, et al.   1:19-op-46000   11/11/2019
Garden City (NY), Village of v. McKesson Corp., et al.         1:19-op-45902   10/22/2019
Great Neck (NY), Village of v. McKesson Corp., et al.          1:19-op-46145   12/19/2019
Greenport (NY), Village of v. McKesson Corp., et al.           1:19-op-46084   11/22/2019
Hauppauge (NY), Fire District of v. McKesson Corporation,
et al.                                                         1:19-op-46108    12/4/2019
Haverstraw (NY), Town of v. McKesson Corp., et al.             1:19-op-46083   11/22/2019
Hempstead (NY), Town of v. McKesson Corp., et al.              1:19-op-46035   11/20/2019
Hempstead (NY), Village of v. McKesson Corporation, et al.     1:19-op-46026   11/18/2019
Hicksville (NY), Water District of v. McKesson Corp., et al.   1:20-op-45072    2/10/2020
Huntington (NY), Town of v. McKesson Corp., et al.             1:19-op-46038   11/20/2019
Island Park (NY), Village of v. McKesson Corp., et al.         1:19-op-45903   10/22/2019




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Case Name                                                    Case Number         Date Filed
Islandia (NY), Incorporated Village of v. McKesson Corp., et
al.                                                          1:19-op-45954       10/29/2019
Islip Terrace (NY), Fire District of v. McKesson Corp., et al.   1:20-op-45049     2/5/2020
Islip (NY), Town of v. McKesson Corp., et al.                    1:19-op-46079   11/22/2019
Lake Grove (NY), Incorporated Village of v. McKesson
Corp., et al.                                                    1:19-op-46032   11/20/2019
Lawrence (NY), Incorporated Village of v. McKesson Corp.,
et al.                                                           1:19-op-45992    11/6/2019
Levittown (NY), Fire District of v. McKesson Corp., et al.       1:19-op-46077   11/22/2019
Lindenhurst (NY), Incorporated Village of v. McKesson
Corp., et al.                                                    1:19-op-46064   11/21/2019
Lloyd Harbor (NY), Incorporated Village of v. McKesson
Corp., et al.                                                    1:19-op-46052   11/21/2019
Long Beach (NY), City of v. McKesson Corporation, et al.         1:19-op-46005   11/13/2019
Lynbrook (NY), Village of v. McKesson Corporation, et al.        1:19-op-46009   11/15/2019
Massapequa Park (NY), Village of v. McKesson
Corporation, et al.                                              1:19-op-46024   11/18/2019
Melville (NY), Fire District of v. McKesson Corp., et al.        1:19-op-46112    12/5/2019
Merrick Library (NY) v. McKesson Corporation, et al.             1:19-op-46097    12/2/2019
Mill Neck (NY), Incorporated Village of v. McKesson Corp.,
et al.                                                           1:19-op-46074   11/22/2019
Miller Place (NY), Fire District of v. McKesson Corp., et al.    1:19-op-46109    12/4/2019
Millerton (NY), Village of v. McKesson Corporation, et al.       1:19-op-45998   11/11/2019
Mount Sinai (NY), Fire District of v. McKesson Corporation,
et al.                                                           1:19-op-46110    12/4/2019
Nassau University Medical Center (NY) v. Purdue Pharma
L.P., et al.                                                     1:19-op-45812    8/30/2019
Nesconset (NY), Fire District of v. McKesson Corp., et al.       1:19-op-46106    12/4/2019
New Hyde Park (NY), Incorporated Village of v. McKesson
Corp., et al.                                                    1:19-op-46022   11/15/2019
Nissequogue (NY), Incorporated Village of v. McKesson
Corp., et al.                                                    1:19-op-46063   11/21/2019
North Hempstead (NY), Town of v. McKesson Corp., et al.          1:19-op-46043   11/20/2019
North Merrick (NY), Fire District of v. McKesson Corp., et
al.                                                              1:19-op-46048   11/21/2019
North Patchogue (NY), First District of v. McKesson Corp.,
et al.                                                           1:20-op-45050     2/5/2020
Northport (NY), Incorporated Village of v. McKesson Corp.,
et al.                                                           1:19-op-46050   11/21/2019


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Case Name                                                     Case Number     Date Filed
Old Westbury (NY), Village of v. McKesson Corp., et al.       1:19-op-46075   11/22/2019
Orangetown (NY), Town of v. McKesson Corp., et al.            1:19-op-46081   11/22/2019
Oyster Bay (NY), Town of v. McKesson Corp., et al.            1:19-op-46041   11/20/2019
Patchogue (NY), Village of v. McKesson Corp., et al.          1:19-op-46039   11/20/2019
Plainview - Old Bethpage (NY) Public Library v. McKesson
Corp., et al.                                                 1:19-op-46061   11/21/2019
Poquott (NY), Incorporated Village of v. McKesson Corp., et
al.                                                           1:19-op-46031   11/20/2019
Port Washington North (NY), Village of v. Purdue Pharma,
et al.                                                        1:19-op-46051   11/21/2019
Port Washington (NY), Water District of v. McKesson Corp.,
et al.                                                        1:19-op-46004   11/13/2019
Poughkeepsie (NY), Town of v. Teva Pharmaceuticals USA,
Inc., et al.                                                  1:20-op-45260    2/21/2020
Ramapo, (NY), Town of v. McKesson Corporation, et al          1:20-op-45042    1/27/2020
Ridge (NY), Fire District of v. McKesson Corp., et al.        1:19-op-46144   12/19/2019
Riverhead (NY), Town of v. McKesson Corp., et al.             1:19-op-46036   11/20/2019
Rockville Centre Public Library (NY) v. McKesson Corp., et
al.                                                           1:19-op-46065   11/21/2019
Rosalyn (NY), Water District of v. McKesson Corporation, et
al.                                                           1:19-op-46015   11/15/2019
Saltaire (NY), Village of v. McKesson Corp., et al.           1:19-op-46080   11/22/2019
Smithtown (NY), Fire District of v. McKesson Corporation,
et al.                                                        1:19-op-46111    12/4/2019
Smithtown (NY), Town of v. McKesson Corp., et al.             1:19-op-46033   11/20/2019
South Farmingdale (NY), Fire District of v. McKesson
Corporation, et al.                                           1:19-op-46003   11/13/2019
Southampton (NY), Town of v. McKesson Corp., et al.           1:19-op-45968    11/4/2019
Southold (NY), Town of v. McKesson Corp., et al.              1:19-op-46090   11/22/2019
St James (NY), Fire District of v. McKesson Corporation, et
al.                                                           1:20-op-45035    1/19/2020
Stewart Manor (NY), Village of v. McKesson Corporation, et
al.                                                           1:19-op-46002   11/13/2019
Stony Brook (NY), Fire District of v. McKesson Corporation,
et al.                                                        1:19-op-46113    12/5/2019
Stony Point (NY), Town of v. McKesson Corp., et al.           1:20-op-45036    1/22/2020
Suffern (NY), Village of v. McKesson Corp., et al.            1:19-op-46087   11/22/2019
The Branch (NY), Village of v. McKesson Corporation, et al.   1:19-op-46114    12/5/2019


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Case Name                                                    Case Number     Date Filed
Uniondale (NY), Fire District of v. McKesson Corp., et al.   1:19-op-46049   11/21/2019
Valley Stream (NY), Village of v. McKesson Corporation, et
al.                                                          1:19-op-46023   11/15/2019
Wappinger Falls (NY), Town of v. ABDC, et al.                1:19-op-46091    11/1/2019
Wappingers Falls (NY), Village of v. ABDC, et al.            1:19-op-45922    9/18/2019
West Hampton Dunes (NY), Incorporated Village of v.
McKesson Corp., et al.                                       1:19-op-46055   11/21/2019
West Haverstraw (NY), Village of v. McKesson Corp., et al.   1:19-op-46089   11/22/2019
West Hempstead (NY) Public Library v. McKesson
Corporation, et al.                                          1:20-op-45018    1/13/2020
Westbury (NY), Village of v. McKesson Corporation, et al.    1:19-op-46025   11/18/2019




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